Case 19-12917-JDW        Doc 21    Filed 08/27/19 Entered 08/28/19 08:57:45                Desc Main
                                   Document     Page 1 of 3


                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

       IN RE: ANNIE D. LESTER                                        Case No. 19-12917

                        CREDITOR'S, 1ST FRANKLIN FINANCIAL
                             CORPORATION’S, MOTION
                       FOR ABANDONMENT AND RELIEF FROM
                       AUTOMATIC STAY AND CO-DEBTOR STAY

       COMES NOW, the Creditor, 1st Franklin Financial Corporation, by and through its

attorney of record, and files this its Motion for Abandonment and Relief from Automatic Stay

and Co-Debtor Stay, and in support thereof, would respectfully show unto this Honorable Court,

as follows:

                                                (1)

       On July 23, 2019, Debtor filed for relief under Chapter 13 of the United States

Bankruptcy Code.

                                                (2)

       Creditor would show that the creditor holds an interest in the following property which

secures this debt namely, a 2016 Toro zero turn riding lawn mower and Echo weedeaters (2).

                                                (3)

       That the Debtor and co-maker, Milton Clayton, have not been making the payments on

the subject debt.

                                                (4)

       That the trustee and the debtor should abandon any interest that they may have in the

collateral and the stay should be lifted as to the debtor and co-debtor, Milton Clayton.
Case 19-12917-JDW         Doc 21    Filed 08/27/19 Entered 08/28/19 08:57:45            Desc Main
                                    Document     Page 2 of 3

       WHEREFORE, Premises Considered, Creditor, 1st Franklin Financial Corporation

prays that the Bankruptcy Court will abandon and surrender the above described collateral to 1st

Franklin Financial Corporation and grant 1st Franklin Financial Corporation relief from the

automatic stay as to the debtor and co-debtor, Milton Clayton, to collect the debt or repossess the

collateral held by the Creditor herein.

       RESPECTFULLY SUBMITTED, this the 27th day of August, 2019.

                                                     1st Franklin Financial Corporation,
                                                     Creditor

                                                     AKINS & ADAMS, P. A.



                                                     By:/s/ Bart M. Adams
                                                             Bart M. Adams
                                                             Attorney for 1st Franklin Financial
                                                             Corporation


AKINS & ADAMS, P. A.
108 E. JEFFERSON STREET
RIPLEY, MISSISSIPPI 38663
(662) 837-9976




                                                2
Case 19-12917-JDW          Doc 21   Filed 08/27/19 Entered 08/28/19 08:57:45            Desc Main
                                    Document     Page 3 of 3

                                CERTIFICATE OF SERVICE

        I, Bart M. Adams, attorney of record for the Creditor, do hereby certify that the following
parties, being registered with the CM/ECF system, have this day received electronic notification
to:

Locke D. Barkley              sbeasley@barkley13.com

U. S Trustee                  USTPRegion05.AB.ECF@usdoj.gov

Karen B. Schneller, Esq.      karen.schneller@gmail.com

Milton Clayton
1224 HWY 349 S
Potts Camp, MS 38659-9702

       SO, CERTIFIED, this, the 27th day of August, 2019.

                                                     /s/ Bart M. Adams
                                                     Bart M. Adams
                                                     Attorney for Creditor




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